                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
__________________________________________
                                             )
Global Force Entertainment, Inc. and Jeffrey )
Jarrett,                                     )
                                             )
              Plaintiffs,                    )
                                             )
v.                                           )   Case No. 3:18-cv-00749
                                             )
Anthem Wrestling Exhibitions, LLC,           )
                                             )
              Defendant.                     )
__________________________________________)


                   DEFENDANT’S MOTION IN LIMINE TO EXCLUDE
                     TRIAL TESTIMONY FROM KAREN JARETT

       COMES NOW Defendant Anthem Wrestling Exhibitions, LLC (“Defendant” or “Anthem

Wrestling”), by and through undersigned counsel, pursuant to Rule 104(a) of the Federal Rules of

Evidence, and respectfully moves the Court in limine, with its Memorandum of Law in Support

incorporated below, for entry of an Order excluding the testimony of Karen Jarrett at trial. Ms.

Jarrett was never disclosed in Plaintiffs’ initial disclosures or discovery responses. Ms. Jarrett’s

deposition was never taken in this matter. Ms. Jarrett was not included in Plaintiffs’ preliminary

witness list that was provided to Anthem Wrestling on May 13, 2020. For the first time in the two

years since this case was filed, Plaintiffs identified Ms. Jarrett as a trial witness when it filed its

witness list on June 12, 2020—a mere two and a half weeks before trial. Pursuant to the Federal

Rules of Civil Procedure Rules 26 and 37, Ms. Jarrett should be excluded due to Plaintiffs’ failure

to identify her in their disclosures and discovery responses. Pursuant to Local Rule 7.01(a)(1),

Anthem Wrestling has conferred with Plaintiffs’ counsel and the relief sought by this Motion is

opposed.




   Case 3:18-cv-00749 Document 201 Filed 06/22/20 Page 1 of 7 PageID #: 3477
                                            ARGUMENT

        The Federal Rules of Civil Procedure clearly require disclosure of potential witnesses far

in advance of a trial. Federal Rule 26(a) requires parties, as part of their initial disclosures, to

“provide to the other parties … the name and, if known, the address and telephone number of each

individual likely to have discoverable information--along with the subjects of that information--

that the disclosing party may use to support its claims or defenses[.]” Rule 26(e)(1)(A) states that

        A party who has made a disclosure under Rule 26(a)--or who has responded to an
        interrogatory, request for production, or request for admission--must supplement or correct
        its disclosure or response… in a timely manner if the party learns that in some material
        respect the disclosure or response is incomplete or incorrect, and if the additional or
        corrective information has not otherwise been made known to the other parties during the
        discovery process or in writing[.]

Failure to provide these necessary disclosures comes with serious consequences. Rule 37(c)(1)

demands that “[i]f a party fails to provide information or identify a witness as required by Rule

26(a) or (e), the party is not allowed to use that information or witness to supply evidence … at a

trial, unless the failure was substantially justified or is harmless.”

        Here, Plaintiffs failed to identify Ms. Jarrett in their initial disclosures. (Pls.’ Rule 26(a)(1)

Initial Disclosures at 2-5)(attached as Exhibit A) Anthem Wrestling similarly did not identify Ms.

Jarrett in its initial disclosures. (Anthem’s Amended Initial Disclosures at 1-2)(attached as Exhibit

B) Neither Plaintiff identified Ms. Jarrett in response to Anthem Wrestling’s interrogatory

requesting the Plaintiffs to “[i]dentify all persons who have relevant knowledge to the claims made

in your Amended Complaint.” (Pl. Jarrett’s Responses to Def.’s First Set of Written Discovery to

Jeff Jarrett, Response to Interrogatory No. 5)(attached as Exhibit C); (Pl. Global Force

Entertainment’s Responses to Def.’s First Set of Written Discovery to Global Force Entertainment,

Response to Interrogatory No. 4)(attached as Exhibit D) While Plaintiffs stated in their responses



                                                    2

   Case 3:18-cv-00749 Document 201 Filed 06/22/20 Page 2 of 7 PageID #: 3478
that they would supplement this response “[t]o the extent additional persons are identified as

discovery continues[,]” Plaintiffs never supplemented their interrogatory responses and, since Ms.

Jarrett is the wife of Plaintiff Jeffrey Jarrett, Plaintiffs should have known whether Ms. Jarrett had

relevant knowledge before this lawsuit was ever filed. Based on the data provided to Anthem

Wrestling, Ms. Jarrett was not the custodian of any of the documents produced by Plaintiffs.1 While

Anthem Wrestling does not believe that simply producing documents from a person satisfies

Plaintiffs’ disclosure obligations, this is another example of Plaintiffs’ failure to indicate in any

way that Ms. Jarrett was a person with relevant knowledge that may be called at trial.

        Based on Plaintiffs’ failure to disclose Ms. Jarrett in any meaningful way, Anthem

Wrestling did not depose Ms. Jarrett. Pursuant to agreement by the parties, the parties exchanged

witness lists approximately one month before the witness lists were due to be filed with the court.

On May 13, 2020, Plaintiffs provided their Preliminary Witness List to Anthem Wrestling. (Email

with attachment from Sam Miller (May 13, 2020, 10:13 CST)(attached as Exhibit E) Ms. Jarrett

was not identified on Plaintiffs’ Preliminary Witness List. On June 12, 2020, for the first time in

this case, Plaintiffs identified Ms. Jarrett as a trial witness in a filing with the court. (Dkt.181-1 at

1)

        Plaintiffs’ failure to identify Ms. Jarrett until less than two and a half weeks before trial is

clearly untimely under Rule 26. The Sixth Circuit affirmed a district court decision to bar the

testimony of witnesses that were not disclosed until a month before trial, so it is clear that two and




1
 Plaintiffs failed to produce most of the metadata for the majority of the documents they produced.
Therefore, Anthem Wrestling cannot easily determine what documents came from which
custodians. However, based on our review of the documents, Ms. Jarrett does not appear to be the
custodian on any of the documents. Even if Ms. Jarrett was a custodian for a few of the documents,
Plaintiffs’ failure to produce the metadata meant that Ms. Jarrett was not identified through the
document data as someone who had relevant documents and potential relevant knowledge.
                                                   3

     Case 3:18-cv-00749 Document 201 Filed 06/22/20 Page 3 of 7 PageID #: 3479
a half weeks before trial is insufficient. Abrams v. Nucor Steel Marion, Inc., 694 F. App'x 974,

977, 982 (6th Cir. 2017).

         Furthermore, Plaintiffs’ failure is not substantially justified or harmless under Rule 37. In

determining whether an omitted or late disclosure is substantially justified or harmless, the Sixth

Circuit looks to five factors: “(1) the surprise to the party against whom the evidence would be

offered; (2) the ability of that party to cure the surprise; (3) the extent to which allowing the

evidence would disrupt the trial; (4) the importance of the evidence; and (5) the nondisclosing

party's explanation for its failure to disclose the evidence.” HLV, LLC v. Van Buren Cty., 775 F.

App'x 204, 214 (6th Cir. 2019).

         First, Anthem Wrestling is clearly surprised by the addition of Ms. Jarrett because, as

described in detail above, Plaintiffs failed to disclose her even with numerous opportunities to do

so. Waiting until two and a half weeks before the trial to disclose her is obviously surprising.

Plaintiffs will argue that they did not need to disclose Ms. Jarrett because she is mentioned in the

Term Sheet and in some of the documents produced. However, the Sixth Circuit has already ruled

that this is not a sufficient disclosure under the Rules. In Abrams, the Sixth Circuit held that the

“surprise [was] obvious” when the defendant could have only known about the late-disclosed

witnesses because they authored or were copied on documents at issue in the matter and the

defendant could not have known what the witnesses would say at trial. 694 F. App'x at 982. The

mere mentioning of a person in a document or copying someone on a produced email is not

sufficient notice to other parties that this person contains relevant knowledge and may be called at

trial.

         Second, the surprise cannot be cured. Anthem Wrestling was not able to depose Ms. Jarrett

or request documents from her because discovery had been closed for over six months at the time



                                                  4

   Case 3:18-cv-00749 Document 201 Filed 06/22/20 Page 4 of 7 PageID #: 3480
of her first disclosure. There is no time to conduct a deposition before trial even should the Court

be willing to allow such a deposition to be taken. Because Anthem Wrestling did not and now

cannot depose Ms. Jarrett, Anthem Wrestling has no idea what she will testify about.


       Third, at this late stage of the litigation, allowing Ms. Jarrett to testify would delay and

disrupt the trial. In Abrams, the Sixth Circuit stated that the defendant would need time to depose

the late-disclosed witnesses and be given the opportunity and time to find rebuttal evidence or

testimony. Id. As the trial is going forward in one week, there is clearly no time to allow Anthem

Wrestling to take a deposition and prepare its rebuttal. Any such preparation would require a delay

and the disruption of the trial. Furthermore, because Plaintiffs have represented that Ms. Jarrett

will testify to the central issues at the core of this case (“Anthem’s representations regarding, at

least, the Merger and Mr. Nordholm’s statements and actions directed to the Merger and Term

Sheet.”) (Dkt. 192 at 1), such preparation is crucial to Anthem Wrestling’s ability to prepare its

defense.


       Fourth, while Plaintiffs state that Ms. Jarrett will testify to key issues in this case, Plaintiffs

can presumably get the same evidence in through witnesses they have properly disclosed—

including Mr. Nordholm himself and Jeffrey Jarrett who is designated to discuss the terms of the

merger. Finally, Plaintiffs cannot show a satisfactory explanation for their failure to disclose Ms.

Jarrett. This is not an instance where a witness was recently discovered. Ms. Jarrett is Plaintiff

Jeffrey Jarrett’s wife. Plaintiffs knew whether Ms. Jarrett had relevant information to this matter

before they even filed this lawsuit. Plaintiffs were required to identify and disclose Ms. Jarrett in

their initial disclosures and discovery responses. Their failure to do so has no justification.

Plaintiffs may also argue that Anthem Wrestling should have known of Ms. Jarrett because she’s



                                                   5

   Case 3:18-cv-00749 Document 201 Filed 06/22/20 Page 5 of 7 PageID #: 3481
mentioned in produced documents. As already described above, the Sixth Circuit has held that this

is not a valid excuse for their late and improper disclosure.

        It is clear that the use of Ms. Jarrett’s testimony on trial will be extremely harmful to

Anthem Wrestling. The Federal Rules of Civil Procedure exist for a reason. Rule 26 and 37 were

written to prevent exactly this kind of improper and prejudicial trial tactic.

                                           CONCLUSION

        Anthem Wrestling humbly requests that the Court enter an Order excluding Ms. Karen

Jarrett from testifying at trial because Plaintiffs failed to disclose her in their initial disclosures or

discovery responses, and their failure to do so is unjustified and extremely harmful to Anthem

Wrestling.


                                                         Respectfully Submitted,

                                                         BASS, BERRY & SIMS PLC

                                                         /s/ Paige W. Mills

                                                         Paige W. Mills, TN Bar No. 16218
                                                         Ashleigh D. Karnell, TN Bar No. 36074
                                                         150 Third Avenue South, Suite 2800
                                                         Nashville, TN 37201
                                                         Phone: (615) 742-6200
                                                         Email: pmills@bassberry.com
                                                         Counsel for Defendant




                                                    6

   Case 3:18-cv-00749 Document 201 Filed 06/22/20 Page 6 of 7 PageID #: 3482
                                CERTIFICATE OF SERVICE

        I hereby certify that on June 22, 2020, I electronically filed the foregoing document with
the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing
to the following and/or served the following via U.S. Mail:

 Samuel F. Miller
 Sara R. Ellis
 Hayley Hanna Baker
 Miller Legal Partners, PLLC
 Fifth Third Center – Suite 2000
 424 Church Street
 Nashville, TN 37219




                                                    /s/ Paige W. Mills




                                                7

  Case 3:18-cv-00749 Document 201 Filed 06/22/20 Page 7 of 7 PageID #: 3483
